Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 1 of 13   Pageid#:
                                    688
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 2 of 13   Pageid#:
                                    689
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 3 of 13   Pageid#:
                                    690
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 4 of 13   Pageid#:
                                    691
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 5 of 13   Pageid#:
                                    692
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 6 of 13   Pageid#:
                                    693
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 7 of 13   Pageid#:
                                    694
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 8 of 13   Pageid#:
                                    695
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 9 of 13   Pageid#:
                                    696
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 10 of 13   Pageid#:
                                     697
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 11 of 13   Pageid#:
                                     698
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 12 of 13   Pageid#:
                                     699
Case 5:06-cr-00041-GEC   Document 341 Filed 03/27/07   Page 13 of 13   Pageid#:
                                     700
